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                          UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA


James Andrew Grimmer,                            Case No. 25-cv-1024 (PJS/DTS)

       Plaintiff,

v.                                               ORDER

Gurstel Law Firm, P.C., et al.,

       Defendants.


       Defendants filed a motion, Dkt. No. 6, for an extension of time to Answer the

Complaint. IT IS HEREBY ORDERED: Defendants shall Answer or otherwise respond to

the Complaint on or before April 9, 2025.


Dated: March 31, 2025                            __s/ David T. Schultz_______
                                                 DAVID T. SCHULTZ
                                                 U.S. Magistrate Judge
